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                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF COLUMBIA

Standing Rock Sioux Tribe,                )
                                          )
                   Plaintiff,             )
                                          )
v.                                        )
                                          )                   Case No. 1:24-cv-02905-JEB
                                          )
U.S. Army Corps Engineers, et al.,        )
                                          )
                   Defendants,            )
                                          )
State of North Dakota, et al.,            )
                                          )
                    Defendant-Intervenors )
 ________________________________________)



                    MOTION FOR PARTIAL SUMMARY JUDGMENT

       Comes Now Plaintiff, Standing Rock Sioux Tribe, by and through undersigned counsel,

and respectfully moves for an Order granting partial summary judgment in Plaintiff’s favor

pursuant to Fed. R. Civ P. 56, a Declaratory Order finding Federal Defendants in violation of the

Administrative Procedure Act, Mineral Leasing Act, Clean Water Act, and Federal Defendants’

regulations, and, in accordance with APA § 706(1), an Order to “compel agency action unlawfully

withheld.” 5 U.S.C. § 706(1). Further, as it deems necessary, Plaintiff requests this Court order the

parties to present argument and evidence on what other relief, including injunctive relief, is

appropriate for these legal violations.

       Plaintiff requests summary judgment on Counts I (violation of Mineral Leasing Act and

Administrative Procedures Act), II (violation of defendants’ regulation at 32 CFR §651.10(i) and

the Administrative Procedures Act), and IV (violation of the Clean Water Act and Administrative

Procedures Act).

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       As described in the accompanying Memorandum in Support of Motion for Partial

Summary Judgment, supported by the declarations and exhibits attached thereto, as well as the

accompanying Statement of Undisputed Facts, this motion is based upon Fed. R. Civ. P. 56; the

Administrative Procedure Act, 5 U.S.C. § 706(1); the All Writs Act, 28 U.S.C. § 1651(a); the

Declaratory Judgment Act, 28 U.S.C. § 2201(a); the Mineral Leasing Act, 30 U.S.C. § 185(a) &

(h); Federal Defendants’ regulations at 32 C.F.R. § 651.10(i) and 36 C.F.R. § 327.20; section 311

of the Clean Water Act, 33 U.S.C. § 1321(j)(5)(A)(1) and its implementing regulations at 49 C.F.R.

Part 194 Subpart B. A proposed order is also attached.



       DATED this 17th day of January 2025,


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                                       Certificate of Service

       The undersigned hereby certifies that on the 17th day of January 2025, a true and correct

copy of the foregoing was filed with the Clerk of the Court using the CM/ECF system, which

will send notification of this filing to the attorneys of record.

                                                       Jeffrey C. Parsons




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